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                                                  Department of the Treasury - Internal Revenue Service                         Date received by
     Form    870               Waiver of Restrictions on Assessment and Collection of
                                                                                                                                Internal Revenue Service
      (June 2022)
                                Deficiency in Tax and Acceptance of Overassessment
Names and address of taxpayers (number, street, city or town, state, ZIP code)                            Taxpayer identification number
  William & Lois Weiner




Increase (Decrease) in Tax and Penalties
   Tax Year Ended                     Tax                                                          Penalties
                                                      IRC 6663
12/31/2016                                7,022.00                    5,266.50
                                                      IRC 6663
12/31/2017                               61,188.00                   45,891.00
                                                      IRC 6663
12/31/2018                                7,917.00                    5,937.75




For additional provisions and instructions, see page 2




Consent to Assessment and Collection
I consent to the immediate assessment and collection of any deficiencies (increase in tax and penalties) and accept any overassessment (decrease in
tax and penalties) shown above, plus any interest provided by law. I understand that by signing this waiver, I will not be able to contest these years in the
United States Tax Court, unless additional deficiencies are determined for these years.
Your signature                                                                                                                     Date



Spouse's signature                                                                                                                 Date



Taxpayer's Representative signature                                                                                                Date



Corporate name



Corporate Officer name (print/type)         Corporate Officer signature                 Title                                      Date



Corporate Officer name (print/type)         Corporate Officer signature                 Title                                      Date



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                                                  Department of the Treasury - Internal Revenue Service                         Date received by
     Form    870               Waiver of Restrictions on Assessment and Collection of
                                                                                                                                Internal Revenue Service
      (June 2022)
                                Deficiency in Tax and Acceptance of Overassessment
Names and address of taxpayers (number, street, city or town, state, ZIP code)                            Taxpayer identification number
  William & Lois Weiner




Increase (Decrease) in Tax and Penalties
   Tax Year Ended                     Tax                                                          Penalties
                                                      See attached
12/31/2019                                     0.00                  29,167.50




For additional provisions and instructions, see page 2




Consent to Assessment and Collection
I consent to the immediate assessment and collection of any deficiencies (increase in tax and penalties) and accept any overassessment (decrease in
tax and penalties) shown above, plus any interest provided by law. I understand that by signing this waiver, I will not be able to contest these years in the
United States Tax Court, unless additional deficiencies are determined for these years.
Your signature                                                                                                                     Date



Spouse's signature                                                                                                                 Date



Taxpayer's Representative signature                                                                                                Date



Corporate name



Corporate Officer name (print/type)         Corporate Officer signature                 Title                                      Date



Corporate Officer name (print/type)         Corporate Officer signature                 Title                                      Date



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Instructions for Form 870, Waiver of Restrictions on Assessment and Collection of Deficiency
                         in Tax and Acceptance of Overassessment
General Information                                                                  We will consider this waiver a valid claim for refund or credit of any
If you consent to the assessment of the deficiencies shown in this                   overpayment due you resulting from any decrease in tax and penalties
waiver, please sign and return the form in order to limit any interest               shown above, provided you sign and file it within the period established
charge and expedite the adjustment to your account. Your consent will                by law for making such a claim.
not prevent you from filing a claim for refund (after you have paid the              Who Must Sign
tax) if you later believe you are so entitled. It will not prevent us from
                                                                                     If you filed jointly, both you and your spouse must sign. If this waiver is
later determining, if necessary, that you owe additional tax; nor extend
                                                                                     for a corporation, it should be signed with the corporation name,
the time provided by law for either action.
                                                                                     followed by the signatures and titles of the corporate officers
We have agreements with State tax agencies under which information                   authorized to sign. An attorney or agent may sign this waiver provided
about Federal tax, including increases or decreases, is exchanged with               such action is specifically authorized by a power of attorney which, if
the States. If this change affects the amount of your State income tax,              not previously filed, must accompany this form.
you should file the required State form.
                                                                                     If this waiver is signed by a person acting in a fiduciary capacity (for
If you later file a claim and the Service disallows it, you may file suit for        example, an executor, administrator, or a trustee) Form 56, Notice
refund in a district court or in the United States Claims Court, but you             Concerning Fiduciary Relationship, should, unless previously filed,
may not file a petition with the United States Tax Court.                            accompany this form.




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                                           Continuation Sheet

NAME: William & Lois Weiner                                                   TIN:

Interest on Deficiencies

Interest on Deficiencies will accrue from the due date of the return until paid.


IRC section 6663

It is determined that all or part of the underpayment of tax for the taxable year(s) is due to fraud.
There is added to the tax an amount equal to 75 percent of the portion of the underpayment which is
attributable to fraud. In addition, interest is computed on this penalty from the due date of the return
(including any extensions).
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                                                                             Page: 2

                                           Continuation Sheet

NAME: William & Lois Weiner                                                   TIN:

IRC section 6663

It is determined that all or part of the underpayment of tax for the taxable year(s) is due to fraud.
There is added to the tax an amount equal to 75 percent of the portion of the underpayment which is
attributable to fraud. In addition, interest is computed on this penalty from the due date of the return
(including any extensions).
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                                                                             Page: 3

                                           Continuation Sheet

NAME: William & Lois Weiner                                                   TIN:

IRC section 6663

It is determined that all or part of the underpayment of tax for the taxable year(s) is due to fraud.
There is added to the tax an amount equal to 75 percent of the portion of the underpayment which is
attributable to fraud. In addition, interest is computed on this penalty from the due date of the return
(including any extensions).
